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                        UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF COLORADO

Civil Action No. 25-cv-1163-CNS

D.B.U. et al.,

       Petitioners-Plaintiffs,

v.

DONALD J. TRUMP, in his official capacity as President of the United States, et al.,

       Respondents-Defendants.


       PETITIONERS-PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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                                    INTRODUCTION


      This Court has already correctly held that the Proclamation is unlawful because

the Alien Enemies Act (“AEA”) is a wartime measure that cannot be used where, as here,

there is neither an “invasion or predatory incursion” nor such an act perpetrated by a

“foreign nation or government.” ECF No. 35 (“Op.”) 22-26. And even if it could be used

against a non-military criminal “gang” during peacetime, targeted individuals must be

provided with a meaningful chance to contest that they fall within the Proclamation’s

scope. Id. Recent developments further confirm this Court’s ruling and highlight the stark

dangers that Petitioners and class members face.

      Specifically, the government recently made clear that its position is now that

someone could be designated under the AEA and removed as soon as 12 hours after the

designation. See ECF No. 44, Exh. A ¶ 11. Moreover, not only has the government now

stated that a mere 12 hours is the required notice, but it has continued to use the Notice

form previously addressed by this Court that is written only in English and does not tell

someone that they can contest their designation, much less tell them how to do so or

even that they only have 12 hours to do so. Id. at 6 (Form AEA-21B); Op. 27-29. There

is no conceivable way that such a process complies with what the Supreme Court has

held is required: notice “within a reasonable time and in such a manner as will allow them

to actually seek habeas relief.” Trump v. J.G.G., No. 24A931, 604 U.S. ----, 2025 WL

1024097, at *2 (U.S. Apr. 7, 2025) (per curiam) (emphasis added).

      Also notable is the memo issued by the Attorney General from March 14, which

became public after the TRO Opinion. In that memo, the Department of Justice (“DOJ”)

made clear its view of the unprecedented power to swiftly arrest and remove anyone it


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deems an alien enemy. See Guidance for Implementing the Alien Enemies Act (Mar. 14,

2025).1 As the memo states, once officers apprehend someone and designate them an

alien enemy, the Attorney General has directed that “officers should commence

arrangements to promptly remove” them. Id. at 4. And the detained person may be held

in “any location deemed suitable” by DOJ or the Department of Homeland Security

(“DHS”): class members could be in federal, state, or local custody, or in privately run

detention facilities. See id. at 4 (“Step 6: Detention”). This means class members held in

a range of detention facilities could be designated and whisked away within 12 hours,

without any realistic chance to be heard in a court of law.2

         For these and other reasons, Petitioners–Plaintiffs (“Petitioners”) are likely to

succeed on the merits. And the remaining factors also tip decidedly in Petitioners’ favor.

Without an injunction, the government will be free to send hundreds more individuals,

including Petitioners and class members, to the notorious Salvadoran prison where they

may be held incommunicado for the rest of their lives. The harm is only magnified by the

government’s position that mistakes cannot be remedied, and once an individual is in a

foreign prison, they are stuck there. The government will suffer no comparable harm given

that the injunction would not prevent it from prosecuting anyone who commits a criminal

offense, detaining anyone, or even removing anyone under immigration laws.

                         LEGAL AND FACTUAL BACKGROUND

         On March 14, purporting to invoke the AEA, 50 U.S.C. §§ 21-24, the President

signed a Proclamation announcing that Tren de Aragua (“TdA”), a Venezuelan gang, is


1
    https://perma.cc/N34A-Z45L.
2 Remarkably, the memorandum also authorizes officers to enter the home of a

suspected TdA member without even an administrative warrant, much less the required
judicial warrant to enter a home.

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“perpetrating, attempting, and threatening an invasion or predatory incursion” against the

United States. See Invocation of the Alien Enemies Act Regarding the Invasion of the

United States by Tren de Aragua (Mar. 15, 2025)(“Proclamation”).3 Since that time,

Respondents-Defendants (“Respondents”) have used the AEA to summarily remove well

over 100 people—many with pending removal proceedings—to El Salvador, where they

potentially face lifetime incommunicado sentences in one of the most notorious prisons

in the world. Exh. D, (Bishop Decl.) ¶ ¶ 21, 23, 25, 30; Exh. E (Goebertus Decl.) ¶ ¶ 3, 4.

Many of those people were detained at ICE’s Denver Contract Detention Facility (“Denver

Facility”) in Aurora before being transferred to Texas and summarily removed to El

Salvador. ECF 31-2 (Sherman Decl.) ¶ 2; Exh. I (Sherman Decl.) ¶ 5. The government

has engaged in and continues to engage in large-scale enforcement actions that it

describes as targeting TdA in the District, and noncitizens from Venezuela who are or

may be detained in Colorado are among those at imminent risk of wrongful designation,

deportation, and disappearance under the Proclamation. Id.; Exh. J, (Hollithorn Decl.) ¶¶

7-9;4 Exh. I (Sherman Decl.) ¶ ¶ 1-2.

      The Supreme Court has made clear that individuals “must receive notice” “that

they are subject to removal under the Act,” and such “notice must be afforded within a

reasonable time and in such a manner as will allow them to actually seek habeas relief in

the proper venue before such removal occurs.” J.G.G., 2025 WL 1024097, at *2.

Respondents maintain that they can comply with this ruling by providing a notice written

in English to designated individuals only 12 hours ahead of their scheduled removal and


3 https://perma.cc/ZS8M-ZQHJ.
4 The Court is familiar with additional background facts about AEA cases from the TRO

filings, ECF Nos. 2, 31, and Petitioners incorporate that factual background here by
reference.

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allowing those who affirmatively indicate an intent to file habeas petitions 24 hours to do

so. See ECF No. 44, Cisneros Decl. ¶ 11. The notice form does not inform the individual

of any right to contest their designation, let alone what they must do to contest it. See

ECF No. 44-1.

       Without a meaningful opportunity to contest their designation under the AEA,

Petitioners and the members of the provisionally certified class are at grave risk of

erroneous removal. The named Petitioners vehemently contest their membership in TdA,

as do others at the Denver Facility who have been labeled as TdA members by the

government. ECF No. 2-1 (Barber Decl.) ¶ 6; ECF No. 2-2 (Hightower Decl.) ¶ 9; Exh. J

(Hollithorn Decl.) ¶ 3. And evidence since the March 15 flights increasingly shows that

many individuals previously removed under the AEA have no ties to TdA at all. In one

instance, a professional makeup artist was designated solely on the basis of two crown

tattoos, which accompany the words “Mom” and “Dad.” See Exh. F (Reyes Decl.) ¶¶ 4-7,

21-23. A professional soccer player was sent to the Salvadoran prison based on a tattoo

of a soccer ball with a crown—similar to the logo of his favorite soccer team, Real

Madrid—and a social media post where he made a gesture that means “I love you” in

sign language. Exh. G (Tobin Decl.) ¶ 7. And another man who was removed had a tattoo

of the autism awareness ribbon with the name of his brother, who is autistic, on it. Exh. H

(Sarabia Roman Decl.), at Exh. 10. And in habeas corpus proceedings in the Western

District of Texas, a couple was detained and designated as alien enemies for the second

time, despite the government having what amounted to “no evidence” of membership in

TdA. See Sanchez Puente v. Garite, No. 3:25-cv-127-DB (W.D. Tex. April 25, 2025),

ECF No. 27 at 32-33 (holding that TdA accusations were “completely and wholly



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unsubstantiated by anything meaningful in the record” and ordering release).

       These errors are unsurprising given that Respondents are relying on dubious

evidence—if any evidence at all—to support their allegations. Respondents often point to

an individual’s tattoos as evidence of TdA membership. Exh. A (Hanson Decl.) ¶ 24. But

experts who have spent decades studying TdA explain that the gang “has never had . . .

identity marks such as tattoos that identify its members.” Exh. B (Antillano Decl.) ¶ 14;

Exh. A (Hanson Decl.) ¶¶ 22, 24 (“Tattoos are not a reliable way to identify members of

the group.”); Exh. C (Dudley Decl.) ¶ 25 (tattoos are not a “reliable means” of identifying

TdA).5 Other characteristics that the government relies upon are equally likely to sweep

in a broad swath of individuals with no substantial connection to TdA. See generally Exh.

H (Sarabia Roman Decl.), at Exh. 1; see also Sanchez-Puente, No. 3:25-cv-127-DB

(W.D. Tex. April 25, 2025), ECF No. 27 at 30, 32 (finding “shoddy affidavits and

contradictory testimony” offered by the government for TdA designation that amounted to

“no evidence.”)

       If Petitioners are illegally sent to a foreign country, the government will argue, as it

already has, that this Court no longer has jurisdiction to remedy their unlawful use of the

AEA. Indeed, Respondents have taken that precise position in Abrego Garcia v. Noem,


5 Documents from the government demonstrate the problems with using tattoos and

dress as an identifier for TdA. For example, the Chicago Homeland Security
Investigations office identified wearing a Chicago Bulls jersey, specifically a Michael
Jordan jersey, as a TdA marker—never mind that the Bulls are the home team in
Chicago and Michael Jordan remains one of Chicago’s biggest stars. Exh. H (Sarabia
Roman Decl.), at Exh. 2; see also id. at Exh. 13 (“The idea that a Jordan tattoo or jersey
would be used to link someone with Tren de Aragua is close to laughable.”); Exh. A
(Hanson Decl.) ¶ 24 (same). In fact, the government’s own intelligence is internally
contradictory. See, e.g., Exh. H (Sarabia Roman Decl.), at Exh. 3 (“EPT-HUMINT-Gang
Unit collections determined that the Chicago Bulls attire, clocks, and rose tattoos are
typically related to the Venezuelan culture and not a definite indicator of being a
member or associate of the TDA.”).

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a case brought by a Maryland father who was, as the government has admitted,

mistakenly deported to El Salvador despite having withholding of removal as to that

country. Abrego Garcia v. Noem, No. 25-1404, 2025 WL 1135112, at *2 (4th Cir. Apr. 17,

2025) (“both the United States and the El Salvadoran governments disclaim any authority

and/or responsibility to return” noncitizens wrongly deported). The same fate awaits this

class absent a preliminary injunction.

      Even if sent back to Venezuela, Petitioners have strong claims for relief under our

immigration laws. For example, R.M.M. is afraid to return to Venezuela, which he fled

because the TdA gang murdered his wife’s father and uncle, and he fears that TdA will

also murder him and his wife or children. ECF No. 2-2 (Hightower Decl.) ¶ 4. R.M.M.

protested against the Maduro regime and has been harmed by groups aligned with the

regime. D.B.U., too, has been physically attacked based on his protests against the

Venezuelan government. ECF No. 2-1 (Barber Decl.) ¶ 3. Both seek asylum, withholding

of removal, and protection under the Convention Against Torture based on their fear of

persecution and torture if returned to Venezuela. ECF No. 2-1 (Barber Decl.) ¶ 5; ECF

No. 2-2 (Hightower Decl.) ¶¶ 8-9. The same is true of members of the provisionally

certified class. Exh. J (Hollithorn Decl.) ¶ 3. The conditions Petitioners and members of

the class would face in El Salvador are horrific. See Exh. D (Bishop Decl.); Exh E

(Goebertus Decl.).

      Finally, experts who have spent over a decade studying policing, violence,

migration, prisons, and organized crime in Venezuela—and TdA in particular—submit

declarations with this motion that provide a more accurate, comprehensive picture of TdA

and its activities. TdA is a loose, decentralized group without a clear hierarchy or



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membership. Exh. A (Hanson Decl.) ¶¶ 1, 27; Exh. B (Antillano Decl.) ¶ 10. TdA does not

act as the de facto government in any region of Venezuela. Exh. A (Hanson Decl.) ¶¶ 13-

16. Nor is there evidence of direct and stable links between the Maduro regime and TdA

or that the gang is intertwined with the Maduro regime. Exh. A (Hanson Decl.) ¶¶ 1, 14,

17; Exh. B (Antillano Decl.) ¶ 13; Exh. C (Dudley Decl.) ¶¶ 2, 21, 23. Experts have also

explained that TdA does not have a significant presence in the United States and that its

activities here are not widespread or coordinated. Exh. A (Hanson Decl.) ¶¶ 19, 27; Exh.

B (Antillano Decl.) ¶ 12; Exh. C (Dudley Decl.) ¶¶ 2, 24. There is no evidence to indicate

that the Venezuelan government has directed TdA to enter the United States or that it

controls TdA’s activities within the United States. Exh. A (Hanson Decl.) ¶¶ 17, 20; Exh.

B (Antillano Decl.) ¶13; Exh. C (Dudley Decl.) ¶¶ 2, 23-24. In fact, the government’s own

intelligence agencies circulated findings in February 2025 that contradict the assertions

in the Proclamation. Exh. H (Sarabia Roman Decl.), at Exh. 12 (intelligence community

assessment concluded that TdA “was not directed by Venezuela’s government or

committing crimes in the United States on its orders”).

                                     LEGAL STANDARD

       To obtain a preliminary injunction to preserve the status quo, as Petitioners seek,

they “need[] to prove four things: (1) that [they are] substantially likely to succeed on the

merits, (2) that [they will] ‘suffer irreparable injury’ if the court denies the injunction, (3)

that [their] threatened injury (without the injunction) outweighs the opposing party's

under the injunction, and (4) that the injunction isn't adverse to the public interest.” Free

the Nipple-Fort Collins v. City of Fort Collins, 916 F.3d 792, 797 (10th Cir. 2019)

(quoting Beltronics USA, Inc. v. Midwest Inventory Distrib., LLC, 562 F.3d 1067, 1070



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(10th Cir. 2009)) (cleaned up).

                                            ARGUMENT

       The Proclamation is unlawful for a host of substantive and procedural reasons.

The Alien Enemies Act can only be used during military hostilities, against a foreign

government or nation. Neither of those conditions is met here. And even if the Act could

be used against a criminal gang during peacetime, Defendants’ attempt to summarily

remove people violates due process and the AEA itself, which both require notice and a

meaningful opportunity to contest one’s designation as an alien enemy. Defendants also

may not remove people without following the INA’s procedural requirements and obeying

the INA’s bar against removal to countries where a person faces persecution or torture.

These claims are all justiciable, as the Supreme Court recognized.

I.     Petitioners Have Standing and This Court Has Jurisdiction.

       As this Court found in its April 23, 2025 Order (ECF 35), Petitioners have standing

because they are at substantial risk of imminent removal.6 Susan B. Anthony List v.

Driehaus, 573 U.S. 149, 158 (2014); Rocky Mountain Gun Owners v. Polis, 121 F.4th 96,

109–11 (10th Cir. 2024) (“[W]ith respect to an imminent . . . injury, a plaintiff need not wait

for the harm to occur to satisfy the injury-in-fact requirement.”); cf. Consumer Data Indus.

Ass’n v. King, 678 F.3d 898, 902 (10th Cir. 2012) (“[T]he existence of a statute implies

the threat of its enforcement.”). Respondents have wrongly accused each of the

Petitioners of membership in or association with TdA. ECF No. 2-2, ¶ 9 (Hightower Decl.);

ECF No. 2-1, ¶ 6 (Barber Decl.); see also Colo. Union of Taxpayers v. Griswold, No. 22-

1122, 2023 WL 5426581, at *4 (10th Cir. Aur. 23, 2023) (risk of enforcement “is


6 Petitioners explained in their TRO Reply that the Court properly has jurisdiction to hear

their habeas cases. ECF No. 31 at 5; Op. 12-14 (so holding).

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 heightened” where enforcement authority is “diffuse or arbitrary”). That places Petitioners

 at substantial risk of removal. ECF No. 35 at 13. And at the April 21 TRO hearing,

 Respondents admitted they would seek to remove individuals within 24 hours of providing

 notice absent the person’s affirmative indication of an intent to file a petition in habeas.

 See TRO Hr’g Tr. 29. Although it did not inform this Court at the April 21 hearing, it has

 now been revealed that the government claims that it can remove people with only 12

 hours of notice. ECF No. 44, Exh. A ¶ 11.

        Moreover, Respondents have repeatedly refused to disavow an intention to invoke

 the AEA both against the class members and against Petitioners. Op. 13-15. Rocky

 Mountain, 121 F.4th at 110–11 (concluding imminent injury element was satisfied where

 government defendant “ha[d] not disavowed any intention of invoking” the challenged law

 against the plaintiff); United States v. Supreme Ct. of N.M., 839 F.3d 888, 901 (10th Cir.

 2016) (same). And Respondents have already removed a number of similarly situated

 individuals from Colorado to CECOT, via Texas. (Sherman Decl. ¶ 5); see also Bronson

 v. Swensen, 500 F.3d 1099, 1108 (10th Cir. 2007) (“Past prosecution patterns matter,

 especially when they support the likelihood of future applications.”); see also Ward v.

 Utah, 321 F.3d 1263, 1267 (10th Cir. 2003) (credible threats of future prosecution

 sufficient to establish standing, even absent past prosecution).7

        The existing risk of AEA designation, near immediate and potentially irrevocable



 7 Underscoring the dangers faced by anyone previously accused of being a TdA

 member, a couple whom the government had represented “it would not detain based on
 the present circumstances,” after previously accusing them of TdA membership and
 status as alien enemies, was rearrested under the AEA. See Sanchez-Puente, 25-cv-
 127-DB (W.D. Tex., April 25, 2025), ECF No. 27 at 9, 30 (holding that the government
 “has no evidence” to substantiate TdA allegations); see also id. at 36 (noting “the
 Executive's unpredictable and inconsistent use of this [AEA] power”).

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 removal, and indefinite incarceration in a foreign prison is sufficient to establish standing.

 II.    Petitioners’ Claims Are Justiciable.

        As this Court correctly concluded in its TRO opinion, the Court can resolve all of

 Petitioners’ claims in this case. Op. 16-18. As the Supreme Court recently confirmed,

 courts can review not only whether an individual “‘is, in fact, an alien enemy’” under the

 AEA, but also “‘questions of interpretation and constitutionality’ of the Act.” J.G.G., 2025

 WL 1024097, at *2 (quoting Ludecke v. Watkins, 335 U.S. 160, 163, 172 n.17 (1948)).

 Thus, Petitioners’ claims that the AEA’s statutory predicates have not been met—

 because TdA is not a “nation or government,” and is not engaged in an “invasion or

 predatory incursion”—are fully within this Court’s jurisdiction.8

        Ludecke itself reached the merits of the statutory question presented there:

 whether a “declared war” no longer existed within the meaning of the Act when “actual

 hostilities” had ceased—i.e., the “shooting war” had ended. 335 U.S. at 166–70; see also

 Op. 17. The Supreme Court concluded, on the merits, that the statutory term “declared

 war” did not mean “actual hostilities,” and that once Congress declares war, the war

 continues for purposes of the AEA until the political branches declare it over. Id. at 170 &

 n.15. The “political judgment” that Ludecke declined to revisit, id. at 170, was simply the

 decision of Congress and the President not to formally declare the war over, id. at 169.

 Nowhere did Ludecke suggest that questions of statutory interpretation are beyond the

 courts’ competence. Indeed, four years later, the Court reversed a government World War

 II removal decision because “[t]he statutory power of the Attorney General to remove


 8 The Supreme Court also held that noncitizens subject to the AEA must receive certain

 procedural protections. J.G.G., 2025 WL 1024097, at *1–2 (addressing plaintiffs’ “due
 process rights”). Petitioners’ procedural claims are therefore all justiciable, and the
 government does not appear to argue otherwise.

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 petitioner as an enemy alien ended when Congress terminated the war.” U.S. ex rel.

 Jaegeler v. Carusi, 342 U.S. 347, 348 (1952).

        Consistent with Ludecke’s recognition (twice in the opinion) that questions about

 the “construction,” “interpretation,” and “validity” of the AEA are justiciable, 335 U.S. at

 163, 171, courts have reviewed a range of issues concerning the meaning and application

 of the AEA’s terms. See, e.g., U.S. ex rel. Kessler v. Watkins, 163 F.2d 140, 143 (2d Cir.

 1947) (interpreting the meaning of “foreign nation or government”); U.S. ex rel. Zdunic v.

 Uhl, 137 F.2d 858, 860–61 (2d Cir. 1943) (“[t]he meaning of [native, citizen, denizen, or

 subject] as used in the statute . . . presents a question of law”; interpreting meaning of

 “denizen” and remanding for hearing on disputed facts); U.S. ex rel. Gregoire v. Watkins,

 164 F.2d 137, 138 (2d Cir. 1947)(interpreting the meaning of “native”; discussing

 alternatives to attain a “logically consistent construction of the statute”); U.S. ex rel.

 D’Esquiva v. Uhl, 137 F.2d 903, 905–07 (2d Cir. 1943) (interpreting the meaning of

 “native” and reviewing executive branch’s position on legal status of Austria); U.S. ex rel.

 Schwarzkopf v. Uhl, 137 F.2d 898, 903 (2d Cir. 1943) (interpreting the meaning of “citizen”

 and legal effects of Germany’s annexation of Austria); Bauer v. Watkins, 171 F.2d 492,

 493 (2d Cir. 1948) (holding that the government bears the burden of proof of establishing

 the citizenship of “alien enemy”); Citizens Protective League v. Clark, 155 F.2d 290, 292,

 295 (D.C. Cir. 1946) (reviewing whether Proclamation was within “the precise terms” of

 the AEA, and whether AEA was impliedly repealed); U.S. ex rel. Von Heymann v.

 Watkins, 159 F.2d 650, 653 (2d Cir. 1947) (interpreting “within the United States”;

 requiring executive branch to show that the petitioner “refuse[d] or neglect[ed] to depart”

 under Section 21); U.S. ex rel. Ludwig v. Watkins, 164 F.2d 456, 457 (2d Cir. 1947)



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 (interpreting “refuse or neglect to depart” in Section 21 as creating a “right of voluntary

 departure” that functions as a “statutory condition precedent” to the government’s right to

 deport enemy aliens); U.S. ex rel. Hoehn v. Shaughnessy, 175 F.2d 116, 117–18 (2d Cir.

 1949) (interpreting “reasonable time” to depart under Section 22). These kinds of

 questions—concerning the “construction” and “interpretation” of the AEA, Ludecke, 335

 U.S. at 163, 171—are squarely at issue here.

        Nor does the “political question” doctrine pose any barrier to this Court interpreting

 the statutory terms of the AEA. The Supreme Court foreclosed that possibility in J.G.G.

 and Ludecke, by instructing courts to resolve questions of the AEA’s “construction and

 validity” and “interpretation and constitutionality.” Ludecke, 335 U.S. at 163, 171; J.G.G.,

 2025 WL 1024097, at *2; see also, e.g., J.G.G. v. Trump, No. 25-5067, 2025 WL 914682,

 at *6–8 (D.C. Cir. Mar. 26, 2025) (Henderson, J., concurring) (rejecting government’s

 political-question arguments).

        More generally, the political question doctrine is a “narrow exception” to courts’

 jurisdiction, Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189, 195 (2012), and exists

 primarily to reinforce the separation of powers, Baker v. Carr, 369 U.S. 186, 210 (1962).

 But applying the doctrine here would undermine Congress’s constitutional authority,

 because it would render the limits that Congress wrote into the statute unenforceable.

 Petitioners are not aware of any Supreme Court decision that has found a statutory claim

 non-justiciable. See El-Shifa Pharm. Indus. Co. v. United States, 607 F.3d 836, 855–56

 (D.C. Cir. 2010) (en banc) (Kavanaugh, J., concurring) (“The Supreme Court has never

 applied the political question doctrine in a case involving alleged statutory violations.”).

 Here, judicial review of Petitioners’ challenge preserves the separation of powers by



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 ensuring that the President does not exceed the specific authority Congress delegated in

 the AEA. See Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637–38 (Jackson,

 J., concurring). Indeed, the AEA states that the President has the power to detain and

 remove alien enemies when there “is” a declared war or where there “is” an invasion or

 predatory incursion, thereby making clear that the President cannot simply find or deem

 there to be a war, invasion, or incursion. Compare 8 U.S.C. § 1182(f) (allowing the

 President to suspend entry of noncitizens into the country where he “finds” it not in the

 “interests of the United States”).9

        III.   Petitioners Are Likely to Succeed on the Merits.

        A.     The Proclamation Violates the AEA and the Constitution.

        The Proclamation is unprecedented, violating the AEA and the Constitution in three

 critical respects: there is no meaningful notice or process to contest whether an individual

 falls within the Proclamation; there is no invasion or predatory incursion; and there is no

 foreign government or nation within the meaning of the statute. When the government

 asserts “an unheralded power” in a “long-extant statute,” courts “greet its announcement

 with a measure of skepticism.” Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014).

 That skepticism is well warranted here.

               1.     Summary Removals Without Notice and a Meaningful
                      Opportunity to Challenge “Alien Enemy” Designations Violate
                      the AEA and Due Process.

        As the Supreme Court has now made clear, both the AEA and Due Process require


 9 Petitioners do not seek to enjoin the President, but he remains a proper defendant

 because Petitioners may obtain declaratory relief against him. See, e.g., Nat’l Treasury
 Emps. Union v. Nixon, 492 F.2d 587, 616 (D.C. Cir. 1974) (concluding that court had
 jurisdiction to issue writ of mandamus against the President but “opt[ing] instead” to issue
 declaration). The Court’s TRO expressly did not enjoin the President. Op. 35.

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 Respondents to provide Petitioners with notice and a meaningful opportunity to challenge

 their designation as alien enemies before removal is permissible under the Proclamation.

 See J.G.G., 2025 WL 1024097, at *3 (“The notice must be afforded within a reasonable

 time and in such a manner as will allow [AEA detainees] to actually seek habeas relief in

 the proper venue before such removal occurs.”); see also J.G.G., 2025 WL 914682, at

 *14–15 (Millett, J., concurring) (“At its most basic, due process requires notice of adverse

 governmental action, an opportunity to be heard, and the right to an unbiased

 decisionmaker.”).

        Respondents just recently revealed what notice they believe is necessary under

 the Supreme Court’s order—they claim the right to remove people within 12 hours if they

 do not affirmatively state an intent to file a writ of habeas corpus and within 24 hours even

 if they do, if they have not been able to file such a writ within that time. ECF No. 44, Exh.

 A ¶ 11-12. That is patently insufficient. As during World War II, assuming arguendo the

 government can use the AEA, Defendants must provide notice to individuals at least 30

 days before any attempt to remove them under the AEA. 10 Fed. Reg. 12,189 (Sept. 28,

 1945). As this Court found in its TRO Order, notice must also be provided in writing in a

 language that the individual understands and must state that they may seek judicial

 review. Op. 34. It should also simultaneously be provided to undersigned class counsel.

 The notice should additionally include the factual basis for the individual’s alien enemy

 designation. See Ralls Corp. v. Comm. on Foreign Inv. in U.S., 758 F.3d 296, 318 (D.C.

 Cir. 2014) (“Both the Supreme Court and this Court have recognized that the right to know

 the factual basis for [government] action and the opportunity to rebut the evidence

 supporting that action are essential components of due process.”). Especially given the



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 possibility that Defendants may seek to remove individuals with as little as 12 hours’

 notice, a preliminary injunction is warranted to ensure that Defendants do not remove

 individuals before they receive adequate notice and a reasonable opportunity to “actually”

 obtain judicial review, consistent with due process. J.G.G., 2025 WL 102409, at *2 (“‘It is

 well established that the Fifth Amendment entitles [noncitizens] to due process of law’ in

 the context of removal proceedings.”).

        The notice requirement flows not only from due process but from the AEA itself.

 That is clear from the Supreme Court’s understanding of the AEA in Ludecke, which

 recognized that individuals would have the opportunity to seek court review of their

 designation under the Act. See, e.g., 335 U.S. at 171 n.17. And it is clear from the statute,

 which affords individuals designated as alien enemies an opportunity to voluntarily depart

 the United States and to settle their affairs. See 50 U.S.C. §§ 21–22. Among other things,

 the President may lawfully remove noncitizens under the AEA only when those

 designated noncitizens “refuse or neglect to depart” voluntarily. See J.G.G., 2025 WL

 89040130, at *14 (citing 50 U.S.C. § 21). Indeed, even during World War II, courts

 interpreting the AEA consistently recognized that “alien enemies” retained the right to

 voluntary departure. See U.S. ex rel. Ludwig, 164 F.2d at 457 (Section 21 establishes a

 “right of voluntary departure”); U.S. ex rel. Von Heymann v. Watkins, 159 F.2d 650, 653

 (2d Cir. 1947); United States ex rel. Dorfler v. Watkins, 171 F.2d 431, 432 (2d Cir. 1948)

 (“An alien must be afforded the privilege of voluntary departure before the Attorney

 General can lawfully remove him against his will.”). Under Section 21, there is no

 exception to the general right of voluntary departure; it is a “statutory condition precedent”

 to removal. U.S. ex rel. Ludwig, 164 F.2d at 457. Section 22 establishes separate rights



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 concerning the particular conditions for departure, with an exception for those “chargeable

 with actual hostility, or other crime against public safety.” 50 U.S.C. § 22. However, that

 exception cannot be invoked categorically.            It instead requires individualized

 assessments: each noncitizen must specifically be “chargeable” to lose eligibility for the

 rights described in Section 22. Defendants have made no such individualized

 assessments here—much less provided any opportunity to contest such findings.

               2.     The Proclamation Does Not Fall within the Statutory Bounds of
                      the AEA.

       The AEA has only ever been invoked in times of declared war: the War of 1812,

 World War I, and World War II. The government seeks to invoke this limited wartime

 authority to execute removals wholly untethered to any actual or imminent war or to the

 specific conditions Congress placed in the statute.

       First, as both this Court and Judge Henderson explained, Op. 22-24; J.G.G., 2025

 WL 914682, at *8-10, there is no “invasion” or “predatory incursion” upon the United

 States. Starting with contemporaneous dictionary definitions, as this Court and Judge

 Henderson did, it is clear that Congress understood those terms to mean a military

 intrusion into the territory of the United States. See Bartenwerfer v. Buckley, 598 U.S. 69,

 74 (2023) (“We start where we always do: with the text of the statute.”); see also

 Webster’s Dictionary, Invasion (1828) (underscoring that “invasion” is “particularly, the

 entrance of a hostile army into a country for purpose of conquest or plunder, or the attack

 of a military force”); Johnson’s Dictionary, Invasion (1773) (“invasion” is a “[h]ostile

 entrance upon the right or possession of another; hostile encroachment” such as when

 “William the Conqueror invaded England”); Webster’s Dictionary, Predatory (1828)

 (“predatory” underscores that the purpose of a military party’s “incursion” was “plundering”


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 or “pillaging”); Johnson’s Dictionary, Incursion (1773) (“[a]ttack” or “[i]nvasion without

 conquest”). See Op. 23 (“These words, fundamentally, demand military and wartime

 action.”)

        Other contemporary founding era usages of the terms are in accord. The Founders

 frequently used both “invasion” and “predatory incursion” in the military sense. See, e.g.,

 Letter from Timothy Pickering to Alexander Hamilton (June 9, 1798) (reporting that

 “predatory incursions of the French” might result in “great destruction of property” but that

 militia could repel them);10 Letter from George Washington to Thomas Jefferson (Feb. 6,

 1781) (describing a British raid that destroyed military supplies and infrastructure in

 Richmond as a “predatory incursion”);11 Letter from George Washington to Nathanael

 Greene (Jan. 29, 1783) (“predatory incursions” by the British could be managed with

 limited cavalry troops);12 John Jay, Con’t Cong., Draft of an Address of the Convention of

 the Representatives of the State of New York to Their Constituents (Dec. 23, 1776)

 (describing the goal of British invasion as “the conquest of America”). 13 Courts did the

 same. Huidekoper’s Lessee v. Douglass, 7 U.S. (3 Cranch) 1, 11 (1805) (“predatory

 incursions” by Native American nation led to “an Indian war”); Cherokee Nation v.

 Georgia, 30 U.S. (5 Pet.) 1, 10 (1831) (“incursions” by Native American nations led to

 retaliatory “war of extermination”); Worcester v. Georgia, 31 U.S. (6 Pet.) 515, 545 (1832)

 (explaining that Pennsylvania’s royal charter included “the power of war” to repel

 “incursions” by “barbarous nations”). And “in every instance” that the term “invasion” or

 “invade” appears in the Constitution, it “is used in the military sense.” J.G.G., 2025 WL


 10 https://perma.cc/H2UY-XTTK.
 11 https://perma.cc/6UBY-6PRB.
 12 https://perma.cc/TY8Y-MTMA.
 13 https://perma.cc/K4SX-4KYB.



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 914682, at *20 (Henderson, J., concurring).

        The interpretive canon of noscitur a sociis confirms Petitioners’ interpretation. That

 canon “avoid[s] ascribing to one word a meaning so broad that it is inconsistent with its

 accompanying words, thus giving unintended breadth to the Acts of Congress.” Yates v.

 United States, 574 U.S. 528, 543 (2015) (internal quotation marks omitted). Courts thus

 look to “[t]he words immediately surrounding” the language to be interpreted to ascertain

 the “more precise content” of that language. Id. (internal quotation marks omitted).

 Accordingly, in this case, “invasion” and “predatory incursion” should be read in light of

 the immediately neighboring term, “declared war.” See Jarecki v. G.D. Searle & Co., 367

 U.S. 303, 307 (1961). Doing so highlights the express military nature of their usage

 here—they are more specific than just any hostile entrance. Cf. Office of Legislative

 Affairs, Proposed Amendment to AEA, at 2 n.1 (Aug. 27, 1980)) (AEA contemplates use

 by the President only “in situations where war is imminent”). This also comports with the

 common law understanding of the term “alien enemy” as subject of a foreign state at war

 with the United States. See Johnson v. Eisentrager, 339 U.S. 763, 769 n.2 (1950)

 (collecting cases).

        Indeed, the same Congress that passed the AEA also passed another law with

 strikingly similar statutory bounds. In response to concerns about impending war with

 France, the 1798 Congress authorized the President to raise troops “in the event of a

 declaration of war against the United States, or of an actual invasion of their territory, by

 a foreign power, or of imminent danger of such invasion.” Act of May 28, 1798, ch. 47, 1

 Stat. 558. This language, which, as Judge Henderson noted, “bears more than a passing

 resemblance to the language of the AEA,” J.G.G., 2025 WL 914682, at *9, makes plain



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 that Congress was concerned about military incursions by the armed forces of a foreign

 nation.

        Tellingly, the AEA requires that the predicate invasion or predatory incursion be

 “against the territory of the United States.” 50 U.S.C. § 21. And at the time of founding,

 actions “against the territory of the United States” were expressly understood to be

 military in nature. See Ex parte Bollman, 8 U.S. (4 Cranch) 75, 131 (1807) (describing

 levying war against the United States as “a military enterprize [sic] . . . against any of the

 territories of the United States”); Wiborg v. United States, 163 U.S. 632, 633 (1896)

 (explaining that a group of seamen were charged with preparing for a “military expedition

 . . . against the territory and dominions of a foreign prince”).

        If any doubt were left about the military nature of the terms, the historical context

 dispels it. Op. 25; see Truck Ins. Exch. v. Kaiser Gypsum Co., Inc., 602 U.S. 268, 279

 (2024) (considering the “historical context” of statute for purposes of interpretation). At

 the time of passage, the United States was preparing for possible war with France and

 already under attack in naval skirmishes. French ships were attacking U.S. merchant

 ships in United States waters. See, e.g., 7 Annals of Cong. 58 (May 1797) (promoting

 creation of a Navy to “diminish the probability of . . . predatory incursions” by France while

 recognizing that distance from Europe lessened the chance of “invasion”). Congress

 worried that these attacks against the territory of the United States were the precursor to

 all-out war with France. J.G.G., 2025 WL 914682, at *1 (Henderson, J., concurring) (“In

 1798, our fledgling Republic was consumed with fear . . . of external war with France.”).

 This “predatory violence” by a sovereign nation led, in part, to the AEA. See Act of July

 7, 1798, ch. 67, 1 Stat. 578, 578 (“[W]hereas, under authority of the French government,



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 there is yet pursued against the United States, a system of predatory violence”).

        Under the statutory text, canons of construction, and historical context, then,

 “invasion” or “predatory incursion” are military actions by foreign governments that

 constitute or imminently precede acts of war. “Mass illegal migration” or criminal activities,

 as described in the Proclamation, plainly do not fall within the statutory boundaries. On

 its face, the Proclamation makes no findings that TdA is acting as an army or military

 force. Nor does the Proclamation assert that TdA is acting with an intent to gain a territorial

 foothold in the United States for military purposes. And the Proclamation makes no

 suggestion that the United States will imminently be at war with Venezuela. The oblique

 references to the TdA’s ongoing “irregular warfare” within the United States do not suffice

 because the Proclamation makes clear that it is referring to “mass illegal migration” and

 “crimes”—neither of which constitute war within the founding era understanding. The

 Proclamation asserts that TdA “commits brutal crimes” with the goal of “harming United

 States citizens, undermining public safety, and . . . destabilizing democratic nations.” But

 these military actions are simply not “against the territory” of the United States. Indeed, if

 mass migration or criminal activities by some members of a particular nationality could

 qualify as an “invasion,” then virtually any group, hailing from virtually any country, could

 be deemed enemy aliens.

        Second, by no stretch of the statutory language can TdA be deemed a “foreign

 nation or government.” Those terms refer to an entity that is defined by its possession of

 territory and legal authority.    See Johnson’s Dictionary, Nation (1773) (“A people

 distinguished from another people; generally by their language, original, or government.”);

 Webster’s Dictionary, Nation (1828) (“A body of people inhabiting the same country or



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 united under the same sovereign government; as the English nation”); Johnson’s

 Dictionary, Government (1773) (“An established state of legal authority.”). Applying the

 whole-text canon again, see supra, confirms that Congress had in mind state actors.

 First, the AEA presumes that a designated nation possesses treaty-making powers. See

 50 U.S.C. § 22 (“stipulated by any treaty . . . between the United States and the hostile

 nation or government”). Nations—not criminal organizations—are the entities that enter

 into treaties. See, e.g., Medellin v. Texas, 552 U.S. 491, 505, 508 (2008) (treaty is “a

 compact between independent nations” and “agreement among sovereign powers”)

 (internal quotation marks omitted); Holmes v. Jennison, 39 U.S. 540, 570-72 (1840)

 (similar). Second, when a “nation or government” is designated under the AEA, the statute

 unlocks power over that nation or government’s “natives, citizens, denizens, or subjects.”

 50 U.S.C. § 21. Countries have “natives, citizens, denizens, or subjects.” By contrast,

 criminal organizations, in the government’s own view, have “members.” Proclamation §

 1 (“members of TdA”).

        Historical context also reflects Congress’s intent to address conflicts with foreign

 sovereigns, not criminal gangs. See 5 Annals of Cong. 1453 (Apr. 1798) (“[W]e may very

 shortly be involved in war . . .”); John Lord O’Brian, Special Ass’t to the Att’y Gen. for War

 Work, N.Y. State Bar Ass’n Annual Meeting: Civil Liberty in War Time, at 8 (Jan. 17, 1919)

 (“The [AEA] was passed by Congress . . . at a time when it was supposed that war with

 France was imminent.”).         This comports with the founding-era, common law

 understanding of the term “alien enemy” as subject of a foreign state at war with the

 United States. See Johnson v. Eisentrager, 339 U.S. 763, 769 n.2 (1950) (collecting

 cases).



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        On this statutory element, the Proclamation again fails on its face. It never asserts

 that TdA is a foreign “nation” or “government.” Op. 26. For good reason. As a criminal

 gang, TdA possesses neither a defined territory nor any legal authority. Exh. A (Hanson

 Decl.) ¶¶ 13, 16; Exh. B (Antillano Decl.) ¶¶ 11, 13; Exh. C (Dudley Decl.) ¶¶ 22–23. The

 Proclamation asserts that “[o]ver the years,” the Venezuelan government has “ceded

 ever-greater control over their territories to transnational criminal organizations.” But the

 Proclamation notably does not say that TdA operates as a government in those regions.

 In fact, the Proclamation does not even specify that TdA currently controls any territory in

 Venezuela. And even as the Proclamation singles out certain Venezuelan nationals, it

 does not claim that Venezuela is invading the United States.14

        Moreover, the Proclamation designates TdA “members” as subject to AEA

 enforcement—but “members” are not “natives, citizens, denizens, or subjects” within the

 meaning of the statute. That glaring mismatch underscores that Defendants are

 attempting not only to use the AEA in an unprecedented way, but in a way that Congress

 never permitted—as a mechanism to address, in the government’s own words, a non-

 state actor. Venezuela has natives, citizens, and subjects, but TdA (not Venezuela) is

 designated under the proclamation. No amount of wordplay can avoid the obvious fact

 that Venezuela is the relevant country for statutory purposes here—and TdA is a non-



 14 And, as the President’s own CIA Director recently testified, the intelligence community

 has no assessment that says the U.S. is at war with or being invaded by Venezuela.
 See National Security and Intelligence Officials Testify on Global Threats at 57:59–
 58:10, C-SPAN (Mar. 26, 2025), https://www.cspan.org/program/house-
 committee/national-security-and-intelligence-officials-testify-on-globalthreats/657380 (Q:
 “Does the intelligence community assess that we are currently at war or being invaded
 by the nation of Venezuela?” A: “We have no assessment that says that.”); also
 available at https://www.cspan.org/program/house-committee/national-security-and-
 intelligence-officials-testify-on-globalthreats/657380.

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 state criminal organization.

        The Court need go no further than finding that the Proclamation fails on its face.

 But even if this Court were going to look at the Proclamation’s conclusory “findings,” those

 findings cannot survive even the most minimally searching inquiry because they are

 simply incorrect as a factual matter.15 Experts who have spent years studying TdA are in

 accord that Venezuela is not directing, controlling, or otherwise influencing TdA’s actions

 in the United States. Exh. A (Hanson Decl.) ¶ 17 (“absolutely implausible” that Maduro

 regime controls TdA or that the two are intertwined); Exh. B (Antillano Decl.) ¶ 13 (no

 evidence that TdA “maintains stable connections with the Venezuelan state or that the

 Maduro regime directs its actions toward the United States”); Exh. C (Dudley Decl.) ¶ 23

 (“no evidence that the Maduro regime has directed Tren de Aragua to migrate to the

 United States or to commit any crimes within the United States”). As one expert who has

 done numerous projects for the U.S. government, including on the topic of TdA,

 explained, the Proclamation’s characterization of the relationship between the

 Venezuelan state and TdA with respect to TdA’s activities in the United States is “simply

 incorrect.” Exh. C (Dudley Decl.) ¶¶ 5, 17-18. The President’s own intelligence agencies

 reached that same conclusion prior to his invocation of the AEA. See Exh. H (Sarabia


 15 Where necessary, courts during World War II routinely examined the facts to ensure

 that the AEA’s statutory limits on presidential power were observed. See, e.g., U.S. ex
 rel. Kessler, 163 F.2d at 143 (reviewing petitioner’s factual contention that the German
 government had ceased to exist after it surrendered and thus was no longer a “foreign
 nation or government” under the AEA); United States ex rel. D’Esquiva, 137 F.3d at 905–
 07 (reviewing the U.S. government’s full course of conduct to ascertain whether and when
 it had officially recognized Austria’s annexation by Germany; remanding for additional
 factfinding); U.S. ex rel. Zdunic, 137 F.2d at 860–61 (remanding for factfinding on
 statutory predicate; cf. Al-Alwi v. Trump, 901 F.3d 294, 298–300 (D.C. Cir. 2018)
 (evaluating whether “active hostilities” continued under the AUMF after 9-11; concluding
 that “[t]he record so manifests here”).


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 Roman Decl.), at Exh. 12 (“shared judgment of the nation’s spy agencies” is “that [TdA]

 was not controlled by the Venezuelan government”).

        The courts’ role in enforcing the bounds of congressional statutory predicates, like

 “predatory invasion” and “incursion” is critical. Congress passed the AEA within weeks of

 the Alien Friends Act (“AFA”). That second law gave the President broader discretion to

 deport any noncitizen who he considered “dangerous to the peace and safety of the

 United States,” regardless of whether an invasion or war had occurred. An Act

 Concerning Aliens § 1, 1 Stat. 571. As such, the 1798 Congress clearly meant to grant

 the President two distinct powers—the power to remove the nationals of foreign enemy

 sovereign countries in times of a war or imminent war, and the power to remove particular

 dangerous noncitizens in times of war or peace. The government’s preferred

 interpretation of the AEA—where the President can remove allegedly dangerous people

 by deciding that virtually anything qualifies as a predatory incursion or invasion and any

 entity qualifies as a foreign nation or government, and no court can review those

 determinations—conflates the different statutory powers Congress conferred separately

 in the AEA and the AFA. But it would have made little sense for Congress to pass two

 laws within weeks of each other, unless those laws were meaningfully different. And the

 critical difference is, of course, the statutory limitations on when the President can use

 the AEA—it is a particular tool for a particular situation, namely the presence of nationals

 of a belligerent country during wartime, which simply does not apply to present

 circumstances. Moreover, treating the AEA like the AFA is especially untenable given that

 the AFA was “widely condemned as unconstitutional by Madison and many others” and

 quickly allowed to lapse. Sessions v. Dimaya, 584 U.S. 148, 185 (2018) (Gorsuch, J.,



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 concurring) (the AFA “is one of the most notorious laws in our country’s history”); see also

 J.G.G., 2025 WL 914682, at *1 (Henderson, J., concurring) (AFA was “widely derided as

 unconstitutional”).

        Finally, the government cannot elide these statutory bounds by pointing to the

 President’s inherent Article II power. The President has no constitutional power to

 unilaterally remove people. Under Article I, Congress holds plenary power over

 immigration, INS v. Chadha, 462 U.S. 919, 940 (1983). The AEA operates as a specific

 delegation of authority from Congress to the President, a delegation that Congress

 limited to instances of war or imminent war by a foreign nation or government. Cf.

 Youngstown, 343 U.S. at 635–38. The President is not at liberty to exceed those

 statutory powers.

        Under Justice Jackson’s Youngstown framework, the President is taking

 measures incompatible with the expressed will of Congress, and accordingly, he is

 acting as his “lowest ebb” of power. Youngstown, 343 U.S. at 637. Because he has no

 inherent constitutional power to unilaterally remove people, Congress’s powers prevail.

 Courts “can sustain exclusive Presidential control in such a case only by disabling the

 Congress from acting upon the subject.” Id. at 637–38. But there is simply no ground for

 ignoring the statutory constraints that Congress has established, nor for disabling

 Congress’s constitutional authority to legislate with respect to immigration and its own

 war powers. See Chadha, 462 U.S. at 940; Hamdan v. Rumsfeld, 548 U.S. 557, 591

 (2006) (discussing Congress’s distinct war powers).

        B.     The Proclamation Violates the Specific Protections that Congress
               Established under the INA for Noncitizens Seeking Humanitarian
               Protection.



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        Summary removal under the AEA is unlawful for an additional independent reason:

 it fails to provide designated individuals with an opportunity to seek protection from

 persecution and torture. Congress enacted the Foreign Affairs Reform and Restructuring

 Act (“FARRA”) to codify the United Nations Convention against Torture and Other Cruel,

 Inhuman, or Degrading Treatment or Punishment (“CAT”) and to ensure that noncitizens

 have meaningful opportunities to seek protection from torture. See U.N. Convention

 Against Torture and Other Cruel, Inhuman or Degrading Treatment or Punishment, art.

 3, Dec. 10, 1984, S. Treaty Doc. No. 100-20, at 20 (1988); Foreign Affairs Reform and

 Restructuring Act of 1998 § 2242(a), Pub. L. No. 105-277, Div. G. Title XXI, 112 Stat.

 2681 (1998) (codified at 8 U.S.C. § 1231 notes) (implementing CAT); C.F.R. §§ 208.16

 to 208.18 (FARRA procedure). CAT categorically prohibits returning a noncitizen to any

 country where they would more likely than not face torture. See 8 U.S.C. §1231 note.

 These protections apply regardless of the mechanism for removal.

        The D.C. Circuit recently addressed a similar issue in Huisha-Huisha v. Mayorkas,

 reconciling the Executive’s authority under a public-health statute, 42 U.S.C. § 265, with

 CAT’s anti-torture protections. 27 F.4th 718 (D.C. Cir. 2022). That case is “on all fours”

 with this one. J.G.G., 2025 WL 890401, at *14. The D.C. Circuit held that because § 265

 was silent about where noncitizens could be expelled, and CAT explicitly addressed that

 question, no conflict existed. Both statutes could—and therefore must—be given effect.

 27 F.4th at 721, 731-32 (citing Epic Sys. Corp. v. Lewis, 584 U.S. 497, 510 (2018) (“When

 . . . confronted with two Acts of Congress allegedly touching on the same topic,” a court

 “must strive to give effect to both.”) (cleaned up)).

        The AEA can similarly be harmonized with other subsequently enacted statutes



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 specifically designed to protect noncitizens seeking asylum and withholding because of

 feared persecution. See Refugee Act of 1980, Pub. L. No. 96-212, 94 Stat. 102 (1980)

 (asylum and withholding); 8 U.S.C. §§ 1158 (asylum), 1231(b)(3) (withholding of

 removal). Congress has unequivocally declared that “[a]ny alien who is physically present

 in the United States or who arrives in the United States . . . irrespective of such alien’s

 status, may apply for asylum.” 8 U.S.C. § 1158(a)(1). Similarly, the withholding of removal

 explicitly bars returning a noncitizen to a country where their “life or freedom” would be

 threatened based on a protected ground. Id. § 1231(b)(3)(A). “In understanding this

 statutory text, ‘a page of history is worth a volume of logic.’” Jones v. Hendrix, 599 U.S.

 465, 472 (2023) (quoting New York Trust Co. v. Eisner, 256 U.S. 345, 349 (1921)). These

 humanitarian protections were enacted in the aftermath of World War II, when the United

 States joined other countries in committing to never again turn our backs on people fleeing

 persecution and torture. Sadako Ogata, U.N. High Comm’r for Refugees, Address at the

 Holocaust Memorial Museum (Apr. 30, 1997).16 A President invoking the AEA cannot

 simply sweep away these protections.

        Indeed, the AEA must be read in the context of the INA. Since the last invocation

 of the AEA more than eighty years ago, Congress carefully specified the procedures by

 which noncitizens may be removed from the United States. And the INA leaves little doubt

 that its procedures must apply to every removal, unless otherwise specified by that

 statute. See NLRB v. SW Gen., Inc., 580 U.S. 288, 305 (2017) (“specific governs the

 general” in statutory construction). It directs: “Unless otherwise specified in this chapter,”

 the INA’s comprehensive scheme provides “the sole and exclusive procedure for



 16 https://perma.cc/X5YF-K6EU.



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 determining whether an alien may be admitted to the United States, or if the alien has

 been so admitted, removed from the United States.” 8 U.S.C. § 1229a(a)(3); see also

 United States v. Tinoso, 327 F.3d 864, 867 (9th Cir. 2003) (“Deportation and removal

 must be achieved through the procedures provided in the INA.”). This language makes

 clear that Congress intended for the INA to “supersede all previous laws with regard to

 deportability.” S. Rep. No. 82-1137, at 30 (Jan. 29, 1952).17

        Congress enacted these procedures with the full awareness that alien enemies

 were subject to removal in times of war or invasion—in fact, the AEA had been invoked

 just a few years prior to passage of the 1952 INA. See Miles v. Apex Marine Corp., 498

 U.S. 19, 32 (1990) (courts presume Congress drafts statutes with full knowledge of

 existing law). But Congress declined to carve out AEA removals as an exception from

 standard immigration procedures, even as it expressly provided exceptions for other

 groups of noncitizens, including noncitizens who pose security risks. See, e.g., 8 U.S.C.

 § 1531 et seq. (establishing fast-track proceedings for noncitizens posing national

 security risks).

        Ignoring the INA’s role as the “sole and exclusive” procedure for determining

 whether a noncitizen may be removed, Respondents have refused to commit to providing

 class members—many of whom have strong claims—with an opportunity to assert their

 rights under any humanitarian statute, as required under the INA. See, e.g., G.F.F. v.


 17 One of the processes otherwise specified in the INA is the Alien Terrorist Removal

 Procedure at 8 U.S.C. § 1531 et seq. The Attorney General may opt to use these
 proceedings when he or she has classified information that a noncitizen is an “alien
 terrorist.” Id. § 1533(a)(1). But even that process requires notice, a public hearing,
 provision of counsel for indigents, the opportunity to present evidence, and individualized
 review by an Article III judge. Id. § 1532(a), 1534(a)(2), (b), (c)(1)-(2). And the government
 bears the burden of proving, by a preponderance of the evidence, that the noncitizen is
 subject to removal as an “alien terrorist.” Id. § 1534(g).

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 Trump, No. 1:25-cv-2886, ECF No. 41 at *1 (“Petitioners are not entitled to seek asylum,

 statutory withholding of removal, or voluntary departure, and this Court cannot review a

 determination that removal will not violate the Convention Against Torture.”). And even if

 Petitioners could apply, the opportunity is meaningless insofar as Respondents withhold

 information about the country to which they will be removed. See J.G.G., 2025 WL

 890401, at *15. But summary removals to the horrific conditions in Salvadoran prisons

 are precisely what Congress enacted these protections to prevent.

        IV.    The Administration’s Abuse of the Alien Enemies Act Has Caused and
               Will Continue to Cause Petitioners Irreparable Harm.

        This Court already correctly held that Petitioners “face immediate, irreparable

 harm.” Op. 30. In the absence of preliminary relief, Petitioners and members of the class

 can be summarily removed to places, such as El Salvador, where they face life-

 threatening conditions, persecution and torture. J.G.G., 2025 WL 1024097, at *5

 (Sotomayor, J., dissenting) (“[I]nmates in Salvadoran prisons are ‘highly likely to face

 immediate and intentional life-threatening harm at the hands of state actors.’”). And while

 removal does not by itself necessarily constitute irreparable harm, Nken v. Holder, 556

 U.S. 418, 435 (2009), these are hardly run-of-the-mill removals. Petitioners’ removals

 constitute grave and immediate irreparable harm because of what awaits them in a

 Salvadoran prison. See generally Exh. D (Bishop Decl.); Exh. E (Goebertus Decl.). Prison

 conditions in El Salvador are “harsh and life threatening.” Bishop Decl. ¶¶ 14, 21; see

 also Exh. E (Goebertus Decl.) ¶ 4. Prison officials there engage in widespread physical

 abuse, including waterboarding, electric shocks, using implements of torture on

 detainees’ fingers, forcing detainees into ice water for hours, and hitting or kicking

 detainees so severely that it causes broken bones or ruptured organs. Exh. D (Bishop


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 Decl.) ¶¶ 21, 33, 37, 39, 41; Exh. E (Goebertus Decl.) ¶¶ 8, 10, 17.

        People in detention in El Salvador also face psychological harm, including solitary

 confinement in pitch dark cells or being forced to stay in a cell with the body of a fellow

 prisoner who was recently beaten to death. Exh. E (Goebertus Decl.) ¶ 3; Exh. D (Bishop

 Decl.) ¶ 39. In fact, El Salvador creates these horrific conditions intentionally to terrify

 people. Exh. D (Bishop Decl.) ¶ 22; See also Tesfamichael v. Gonzales, 411 F.3d 169,

 178 (5th Cir. 2005); (“irreparable harm” where petitioners face “forced separation and

 likely persecution” “if deported”); Huisha-Huisha, 27 F.4th at 733 (irreparable harm exists

 where petitioners “expelled to places where they will be persecuted or tortured”); Leiva-

 Perez v. Holder, 640 F.3d 962, 969 (9th Cir. 2011) (holding that removal to a country

 where one faces harm constitutes irreparable injury); Demjanjuk v. Holder, 563 F.3d 565,

 565 (6th Cir. 2009) (granting stay for noncitizen who asserted removal would violate

 CAT). And Petitioners may never get out of these prisons. See Nayib Bukele, X.com,

 (Mar. 16, 2025, 5:13AM ET);18 see also Exh. E (Goebertus Decl.) ¶ 3 (quoting the

 Salvadorean government that people held in CECOT “will never leave”); id. (“Human

 Rights Watch is not aware of any detainees who have been released from that prison.”).

        And even if the government instead removes Petitioners to Venezuela, they face

 serious harm there, too. In fact, both Petitioners fled Venezuela for the very purpose of

 escaping the persecution they faced there and have pending asylum cases on that basis.

 ECF No. 2-1 (Barber Decl.) ¶ 5; ECF No. 2-2 (Hightower Decl.) ¶¶ 8-9. And returning to

 Venezuela labeled as a gang member by the United States government only increases

 the danger, as they will face heightened scrutiny from Venezuela’s security agency, and



 18 https://perma.cc/52PT-DWMR.



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 possibly even violence from rivals of TdA. Exh. A (Hanson Decl.) ¶ 28.

        V.     The Balance of Equities and Public Interest Weigh Decidedly in Favor
               of a Preliminary Injunction Order.

        The balance of equities and the public interest factors merge in cases against the

 government. Nken, 556 U.S. at 435. Here, the balance of hardships overwhelmingly

 favors Petitioners. The public has a critical interest in preventing wrongful removals to

 places where individuals will face persecution and torture. Id. at 436 (describing the

 “public interest in preventing aliens from being wrongfully removed, particularly to

 countries where they are likely to face substantial harm”); Nunez v. Boldin, 537 F. Supp.

 578, 587 (S.D. Tex. 1982) (protecting people who face persecution abroad “goes to the

 very heart of the principles and moral precepts upon which this country and its

 Constitution were founded”). Indeed, “[i]t is always in the public interest to prevent the

 violation of a party’s constitutional rights.” Awad v. Ziriax, 670 F.3d 1111, 1132 (10th Cir.

 2012). Conversely, the government can make no comparable claim to harm from an

 injunction. Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013) (the government

 “cannot suffer harm from an injunction that merely ends an unlawful practice”); League of

 Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (describing the “substantial

 public interest in having governmental agencies abide by the federal laws that govern

 their existence and operations” (citation omitted)). Defendants, moreover, will retain the

 ability to prosecute criminal offenses, detain noncitizens, and remove noncitizens under

 existing statutory immigration laws.

        VI.    Preliminary Class-Wide Relief Is Proper.

        For all the reasons stated in the Petitioners’ Motion for Class Certification, the

 provisionally certified class meets the requirements for certification pursuant to Federal



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 Rules of Civil Procedure 23(a) and 23(b)(2) and this Court should include class-wide relief

 in its preliminary injunction, as it did in the TRO Order. Alternatively, the Court can use

 Rule 23 as a guidepost to provide class-wide relief and certify a class under the All Writs

 Act and principles of habeas jurisdiction and equity. Only class-wide relief will prevent

 the government from continuing the “shell game” that it has played in an effort to prevent

 meaningful judicial review. J.G.G., 2025 WL 914682, at *14–15 (Millett, J., concurring).

        The Tenth Circuit, like every other circuit that has addressed the issue, has found

 that a class habeas action may be maintained. Napier v. Gertrude, 542 F.2d 825, 827 &

 n.5 (10th Cir. 1976) (noting “class treatment” could be available by the court “apply[ing]

 an analogous procedure by reference to Rule 23”); see also, e.g., U.S. ex rel. Sero v.

 Preiser, 506 F.2d 1115, 1125–26 (2d Cir. 1974); Bijeol v. Benson, 513 F.2d 965, 967 (7th

 Cir. 1975); Williams v. Richardson, 481 F.2d 358, 361 (8th Cir. 1973); Mead v. Parker,

 464 F.2d 1108, 1112–13 (9th Cir. 1972); LoBue v. Christopher, 82 F.3d 1081, 1085 (D.C.

 Cir. 1996). For instance, in Sero, the Second Circuit relied on the Supreme Court’s

 decision in Harris v. Nelson, 394 U.S. 286 (1969), to “confirm[] the power of the judiciary,

 under the All Writs Act . . . to fashion for habeas actions ‘appropriate modes of procedure,

 by analogy to existing rules or otherwise in conformity with judicial usage,’” and held that

 “unusual circumstances” provided “compelling justification for allowing a multi-party

 proceeding similar to the class action authorized by the Rules of Civil Procedure.” 506

 F.2d at 1125 (citing Harris, 394 U.S. at 299). Adopting a similar approach in Bijeol, the

 Seventh Circuit found a class habeas appropriate where all prisoners raised an “identical”

 issue of law, and the number of prisoners was “too great for joinder of all to be practical.”

 513 F.2d at 968. Likewise, the Eighth and Ninth Circuits reversed district court decisions,



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 holding that a habeas corpus petition may seek relief for an appropriate class. See Mead,

 464 F.2d at 1113 (“where the relief sought can be of immediate benefit to a large and

 amorphous group . . . a class action may be appropriate”); Williams, 481 F.2d at 361

 (agreeing with Mead); LoBue, 82 F.3d at 1085 (noting that “courts have in fact developed

 such equivalents” of “class actions in habeas”).

        Although it has not addressed the availability of class habeas, the Supreme Court

 has ruled on the merits in multiple class habeas cases, including several recent ones

 involving immigration detention. See, e.g., Johnson v. Guzman Chavez, 594 U.S. 523,

 532 (2021) (class of noncitizens detained in Virginia); Nielsen v. Preap, 586 U.S. 392,

 400 (2019) (two classes of noncitizens, one detained in California and the other in the

 Western District of Washington); Jennings v. Rodriguez, 583 U.S. 281, 290 (2018) (class

 of noncitizens in the Central District of California, with subclasses for different detention

 authorities).

        The reasoning of these cases confirms why class-wide relief is not only appropriate

 but necessary here. Threshold questions of law about the validity of the Proclamation

 and the process due to individuals designated thereunder—on which Petitioners are likely

 to succeed on the merits—are common to every member of the proposed class.

 Preliminary injunctive relief on a class-wide basis is necessary to prevent irreversible and

 irreparable harm.

        VII.     The Court Should Extend the Notice Requirements Ordered in the TRO
                 but Reserve Judgment on the Issue of the Proper Habeas Procedures.

        Petitioners respectfully request that the Court extend the notice period to 30 days

 notice, the notice period given during World War II to allow people designated under the

 AEA to voluntarily depart the country.10 Fed. Reg. 12,189 (Sept. 28, 1945). Adequate


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 time to respond to a notice is particularly important for the 85% of people detained at the

 Denver Facility that are unrepresented and who are likely to struggle to understand the

 notice, navigate the complexities of preparing a habeas petition, and timely file one. Exh.

 I (Sherman Decl.) ¶¶ 10, 14. The notice should also provide that individuals have the right

 to voluntarily depart, as the AEA provides. 50 U.S.C. § 21 (allowing for removal of those

 who “refuse or neglect to depart therefrom”).

        The Court also should extend the notice requirements to include a requirement

 that notice contain the factual basis for the individual’s alien enemy designation. See Ralls

 Corp, 758 F.3d at 318 (D.C. Cir. 2014); see also Mattox v. Disciplinary Panel, 758 F.2d

 1362, 1369 (10th Cir. 1985) (finding that in a civil proceeding regarding an attorney’s

 admission to the district court bar, the applicant was entitled to notification of “the reasons”

 that she was denied).

        Finally, Petitioners respectfully request that the Court clarify that its order requires

 notice to be provided to class counsel. Currently, the order requires notice to be provided

 “to the provisionally certified class.” Petitioners understand this to include class counsel

 but respectfully request that be made explicit.

        VIII.   The Court Should Not Require Petitioners to Provide Security Prior to
                the Preliminary Injunction Order.

        The Court properly exercised its discretion not to require a bond under Federal

 Rule of Civil Procedure 65(c). See Continental Oil Co. v. Frontier Refining Co., 338 F.2d

 780, 782 (10th Cir. 1964).



        Dated: April 25, 2025

                                             Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 25, 2025, I electronically filed the foregoing

 PETITIONERS-PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION with the

 Clerk of the Court using the CM/ECF system, and that in accordance with Fed. R. Civ.

 P. 5, all counsel of record shall be served electronically through such filing.


                                                           /s/ Sara R. Neel
                                                           Sara R. Neel




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